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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00205-TLN-EFB

12                                 Plaintiff,             GOVERNMENT’S RESPONSE TO EMERGENCY
                                                          MOTION FOR DISPOSITION
13                          v.
                                                          DATE: TBD
14   MATTHEW MULLER,                                      TIME: 9:00 a.m.
                                                          COURT: Hon. Edmund F. Brennan
15                                Defendants.

16

17          The United States opposes Matthew Muller’s (Muller) emergency motion for disposition. ECF

18 86). Other than a conclusory and unsupported statement of prejudice, Muller presents no cognizable

19 reason for expedited review of this matter.

20          Muller asserts that former counsel has unlawfully withheld his client file, requests immediate

21 appointment of counsel, and the authorization of public funds for an expert evaluation. There is no need

22 to reach Muller’s claims until the District Judge has ruled on the Magistrate Judge’s Findings and

23 Recommendations.

24          First, because the District Judge has not yet ruled, the parties cannot be certain of which issues

25 will require additional briefing and/or litigation. The United States only filed its response brief on

26 January 18, 2019, approximately one week ago. Second, although Muller claims that former defense

27 counsel withheld his client file in its entirety, it appears that former counsel pursuant to the express

28 terms of the protection order, destroyed the items which Muller now seeks, namely discovery provided


      GOVERNMENT’S OPPOSITION                             1
 1 by the United States. (See Exhibit One; ECF 16 at 2).

 2          The United States has no view on whether or when the Court should appoint counsel and expert

 3 services. The Rules for Section 2255 Proceedings require the appointment of counsel if the Court orders

 4 an evidentiary hearing. See Rule 8(c). This Court’s screening of defendant’s meritless claims is still

 5 under review by the District Judge. The Government has not even answered the petition yet. The

 6 Government notes that while Muller suggests that counsel could assist in the settlement of this matter,

 7 that is simply not true. The United States does not intend to settle this matter.

 8          For all of the above reasons, this Court should deny Muller’s emergency motion. This is a busy

 9 district, and there is no reason for Muller to skip to the front of a long line of collateral attack movants.

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      Dated: January 24, 2019                                 MCGREGOR W. SCOTT
11                                                            United States Attorney
12
                                                       By: /s/ HEIKO P. COPPOLA
13                                                         HEIKO P. COPPOLA
                                                           Assistant United States Attorney
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      GOVERNMENT’S OPPOSITION                             2
 1                                 CERTIFICATE OF SERVICE BY MAIL

 2
            The undersigned hereby certifies that she is an employee in the Office of the United States
 3
     Attorney for the Eastern District of California and is a person of such age and discretion to be competent
 4

 5 to serve papers; that on January 24, 2019, he served a copy of the GOVERNMENT’S RESPONSE TO

 6 EMERGENCY MOTION FOR DISPOSITION by placing said copy in a postpaid envelope addressed

 7 to the person hereinafter named, at the place and address stated below, which is the last known address,

 8
     and by depositing said envelope and its contents in the United States Mail at Sacramento, California.
 9

10
     Addressee:
11
   Matthew D. Muller
12 Project Justice for All
   388 Market St., Suite 1300
13 San Francisco, CA 94111

14 Dated: January 24, 2019

15

16                                                           MCGREGOR W. SCOTT
                                                             United States Attorney
17

18                                                           /s/ HEIKO P. COPPOLA
19                                                           HEIKO P. COPPOLA

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      GOVERNMENT’S OPPOSITION                            3
